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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-61526-CIV-SINGHAL

  CINDY SKIBINSKY,

        Plaintiff,

  v.

  MARTIN J. O’MALLEY,
  Commissioner of Social Security,

       Defendant.
  _______________________________________/

                                         ORDER

        THIS CAUSE came before the Court upon Plaintiff, Cindy Skibinsky’s (“Plaintiff”),

  Unopposed Motion for Attorney’s Fees Under the Equal Access to Justice Act (“Motion”)

  (DE [37]) and the Report and Recommendation (DE [39]) of the Magistrate Judge

  recommending that the Motion be granted and that Plaintiff be awarded $9,910.34 in

  attorney's fees. The Court has reviewed the entire file and record and has made a de

  novo review of the issues.     No objections to the magistrate judge’s Report and

  Recommendation having been filed, it is hereby

        ORDERED       AND     ADJUDGED        that   Magistrate   Judge’s   Report    and

  Recommendation (DE [39]) is AFFIRMED and ADOPTED.                 Plaintiff’s Motion for

  Attorney’s Fees (DE [37]) is GRANTED. Plaintiff is awarded $9,910.34 in attorney's fees.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Florida, this 20th day of

  February, 2024.



  Copies furnished counsel via CM/ECF
